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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


JACQUELINE BRENNER                         )
Plaintiffs,                                )
v.                                         )
                                           )            C.A. No. 13-10931
WILLIAMS-SONOMA-INC.,                      )
Defendants.                                )



                             Order Dismissing Case

WOLF, D. J.


      In accordance with this Court's Memorandum and Order dated September 28,

2016 it is hereby ORDERED that this action is dismissed without prejudice.




                                                 By the Court,


September 29, 2016                               /s/ Daniel C. Hohler
     Date                                        Deputy Clerk
